Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 1 of 11




                      Exhibit C-5
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 2 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 3 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 4 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 5 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 6 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 7 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 8 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 9 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 10 of 11
Case 2:21-cv-00177-SRB Document 38-24 Filed 10/18/21 Page 11 of 11
